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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


United States of America,                        Case No. 21-cr-173 (WMW/DTS)

       Plaintiff,
                                                 ARRAIGNMENT ORDER
v.

Anton Joseph Lazzaro (1),

       Defendant.


       An arraignment hearing was held before the undersigned United States Magistrate

Judge on Hildy Bowbeer. Angela Munoz and Laura Provinzino, Assistant United States

Attorneys, appeared on behalf of the Government; Zachary Newland, Jeremy Gordon,

Hilary Parsons, Retained Counsel, appeared on behalf of Defendant, who was present.

       Defendant identified himself by name and birth date, waived a reading of the

Indictment, and entered a plea of not guilty. Pursuant to Local Rule 12.1 (copy attached);

       IT IS HEREBY ORDERED:

       1.      The government must make all disclosures required by Fed. R. Crim.

P. 16(a) by August 31, 2021. D. Minn. LR 12.1(a)(1). In order to avoid the need for a

recess of the motions hearing, the Government is requested to make by August 31, 2021,

all disclosures that will be required by Fed. R. Crim. P. 26.2 and 12(h).

       2.      As required by rule 5(f) of the Rules of Criminal Procedure, the United

States is ordered to disclose all exculpatory evidence to the defendant as required by

Brady v. Maryland and its progeny. Failure to do so in a timely manner may result in

sanctions, including exclusion of evidence, adverse jury instructions, dismissal of

charges, contempt proceedings, disciplinary action, or sanctions by the Court.
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       3.     Defendant must make all disclosures required by Fed. R. Crim. P. 16(b) by

September 7, 2021. D. Minn. LR 12.1(a)(2).

       4.     All motions in the above-entitled case must be filed and served consistent

with Fed. R. Crim. P. 12(b) and 47 on or before September 14, 2021. 1 D. Minn.

LR 12.1(c)(1).

       5.     Counsel must electronically file a letter on or before September 14, 2021,

if no motions will be filed and there is no need for a motions hearing.

       6.     All responses to motions must be filed by September 28, 2021. D. Minn.

LR 12.1(c)(2).

       7.     Any Notice of Intent to Call Witnesses2 must be filed by September 28,

2021. D. Minn. LR 12.1(c)(3)(A).

       8.     Any Responsive Notice of Intent to Call Witnesses 3 must be filed by

October 1, 2021. D. Minn. LR 12.1(c)(3)(B).

       9.     A motions hearing will be held pursuant to Fed. R. Crim. P. 12(c) where:

              a.     The Government makes timely disclosures and defendant identifies
                     in the motions particularized matters for which an evidentiary hearing
                     Is necessary; or



1 “Before filing a motion under Fed. R. Crim. P. 12(b), the moving party must confer with
the responding party. The parties must attempt in good faith to clarify and narrow the
issues in dispute.” D. Minn. LR 12.1(b).
2 “When a party intends to call witnesses at a hearing on a motion under Fed. R. Crim.

P. 12(b), the party must file a notice within 35 days after the arraignment. The notice must
identify the number of witnesses whom the party intends to call, the motion or motions
that each witness will be addressing, and the estimated duration of each witness’s
testimony.” D. Minn. LR 12.1(c)(3)(A).
3 “If after reviewing a notice under LR 12(c)(3), a party intends to call witnesses at the

same hearing, that party must file a responsive notice within 38 days after the
arraignment. The responsive party must identify the number of witnesses whom the party
intends to call, the motion or motions each witness will be addressing, and the estimated
duration of each witness’s testimony.” D. Minn. LR 2.1(c)(3)(B).
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             b.      Oral argument is requested by either party in its motion, objection, or
                     responsive pleadings.

      10.    If required, the motions hearing will be heard before Magistrate Judge

David T. Schultz on October 7, at 2:00 pm in Courtroom 9E, 300 South Fourth Street,

Minneapolis, MN. D. Minn. LR 12.1(d).

      11.    TRIAL

      a.     If no pretrial motions are filed by defendant, the following trial and trial-
             related dates are:

             (i)     All motions in limine and proposed voir dire and jury instructions are
             due in District Judge Wilhelmina Wright’s chambers at least 21 days before
             the trial date. Counsel are advised that a pretrial notice will issue that will
             include additional deadlines.

             (ii)   This case shall commence trial on October 18, 2021 at 9:00 a.m.
             before District Judge Wilhelmina M. Wright in Courtroom 7A, Warren E.
             Burger Federal Building and U.S. Courthouse, 316 North Robert Street,
             Saint Paul, Minnesota.

      b.     If pretrial motions are filed, the trial date, and other related dates, will be
             rescheduled following the ruling on pretrial motions. Counsel must contact
             Mona Eckroad, Courtroom Deputy for District Judge Wilhelmina M. Wright,
             at 651-848-1646, to confirm the new trial date.


Dated: September 3, 2021                                s/Hildy Bowbeer
                                                        Hildy Bowbeer
                                                        United States Magistrate Judge




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